   Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 1 of 26



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JEREMY LEVIN and DR. LUCILLE LEVIN,     Civ. No. 09 CV 5900 (JPO)

           Plaintiffs,
                                        DECLARATION OF SUZELLE M.
     -v-                                SMITH IN SUPPORT OF THE LEVIN
                                        PLAINTIFFS’ MOTION FOR
                                        SUMMARY JUDGMENT WITH
THE BANK OF NEW YORK MELLON,            RESPECT TO THE TAJIDEEN
JPMORGAN CHASE & CO., JPMORGAN          BLOCKED ASSET
CHASE BANK, N.A., SOCIÉTÉ
GÉNÉRALE, and CITIBANK, N.A.,

           Defendants.


JPMORGAN CHASE BANK, N.A.,

           Counterclaim-Plaintiff,

     -v-

JEREMY LEVIN and DR. LUCILLE LEVIN,

           Counterclaim-Defendants.


JPMORGAN CHASE BANK, N.A.,

           Third-Party Plaintiffs,

     -v-

KASSIM TAJIDEEN, AMERICAN LIFE
INSURANCE COMPANY – LEBANON
BRANCH, KEITH STANSELL, MARC
GONSALVES, THOMAS HOWES, JUDITH
G. JANIS, CHRISTOPHER T. JANIS,
GREER C. JANIS, MICHAEL J. JANIS,
JONATHAN N. JANIS, TERANCE J.
VALORE, JUANITA R. GOLDFARB, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF DAVID L. BATTLE, MARY V.
HERNANDEZ, AS PERSONAL
  Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 2 of 26



REPRESENTATIVE OF THE ESTATE OF
MATILDE HERNANDEZ, JR., ROBERT
MUFFLER, JR., AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOHN MUFFLER, JUTTA YARBER, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF JAMES YARBER, RONALD L.
TISHMACK, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOHN JAY TISHMACK, CELIA WALKER,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF LEONARD WARREN
WALKER, DOROTHY C. WINT, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF WALTER EMERSON WINT,
JR., PEDRO ALVARADO, JR., ANDRES
ALVARADO TULL, ANGEL ALVARADO,
GERALDO ALVARADO, GRISSELLE
ALVARADO, LUIS ALVARADO, LUISA
ALVARADO, MARIA ALVARADO,
MARTA ALVARADO, MINERVA
ALVARADO, YOLANDA ALVARADO,
ZORAIDA ALVARADO, DENNIS JACK
ANDERSON, FLOYD CARPENTER,
MICHAEL HARRIS, BENNIE HARRIS,
ROSE HARRIS, DONALD R. PONTILLO,
DEBORAH TRUE, DOUGLAS PONTILLO,
LEONORA PONTILLO, JOHN E. SELBE,
ELOISE F. SELBE, BELINDA SKARKA,
DON SELBE, JAMES SELBE, WILLY G.
THOMPSON, ALLISON THOMPSON,
IFALINE THOMPSON, CHERYL BASS,
JOHNNY THOMPSON, WANDA FORD,
ORLANDO MICHAEL VALORE, SR.,
ORLANDO M. VALORE, JR., JANICE
VALORE, MARCY LYNN PARSON,
TIMOTHY BROOKS, EDWARD J.
BROOKS, PATRICIA A. BROOKS, BILLY
G. ASEMANI, SETH CHARLES (KLEIN)
BEN HAIM, BERNARD (KLEIN) BEN
HAIM, LAVI (KLEIN) BEN HAIM, DIANA
CAMPUZANO, AVI ELISHIS, GREGG
SALZMAN, JENNY RUBIN, DEBORAH
RUBIN, DANIEL MILLER, ABRAHAM
MENDELSON, STUART E. HERSH,
RENAY FRYM, NOAM ROZENMAN,
  Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 3 of 26



ELENA ROZENMAN, TZVI ROSENMAN,
SUSAN WEINSTEIN, INDIVIDUALLY
AND AS COADMINISTRATOR OF THE
ESTATE OF IRA WILLIAMS WEINSTEIN,
JEFFREY MILLER, AS CO-
ADMINISTRATOR OF THE ESTATE OF
IRA WILLIAMS WEINSTEIN, JOSEPH
WEINSTEIN, JENNIFER WEINSTEIN
HAZI, DAVID WEINSTEIN, SHLOMO
LEIBOVITCH AND GALIT LEIBOVITCH,
AS GUARDIANS OF SHIRA LEIBOVITCH,
A MINOR, SHLOMO LEIBOVITCH, GALIT
LIEBOVITCH, MOSHE LEIBOVITCH,
HILA LEIBOVITCH, SHMUEL ELIAD,
MIRIAM ELIAD, JEFFREY BODOFF, AS
ADMINISTRATOR OF THE ESTATE OF
YONATHAN BARNEA, SHLOMIT
BARNEA, URI BARNEA, TAMARA
BARNEA, NACHUM BARNEA, SHMUEL
BRAUN, INDIVIDUALLY AND AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF CHAYA ZISSEL BRAUN,
ESTATE OF CHAYA ZISSEL BRAUN,
CHANA BRAUN, INDIVIDUALLY AND
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF CHAYA ZISSEL BRAUN,
ESTHER BRAUN, MURRAY BRAUN,
SARA HALPERIN, SHIMSHON
HALPERIN, CHAIM KAPLAN, RIVKA
KAPLAN, ARYE KAPLAN, MENACHEM
KAPLAN, CHANA KAPLAN, MUSHKA
KAPLAN, EFRAIM KAPLAN, BRIAN
ERDSTEIN, KARENE ERDSTEIN, MAYAN
ERDSTEIN, NOA ERDSTEIN, NETIYA
ERDSTEIN, ARIEL ERDSTEIN, CHAYIM
KUMER, NECHAMA KUMER, MALKA
KUMER, CHANA KUMER, LAURIE
RAPPEPORT, MARGALIT RAPPEPORT,
MICHAEL FUCHS, THEODORE
GREENBERG, MOREEN GREENBERG,
JARED SAUTER, DANIELLE SAUTER,
DVORA KASZEMACHE, CHAYA
ALKAREIF, AVISHAI REUVANE,
ELISHEVA ARON, YAIR MOR, MIKIMI
STEINBERG, MYRA MANDEL, ESTATE
OF DONALD J. HAVLISH, JR., ALAN GU,
  Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 4 of 26



DIANE ROMERO ALEXANDER ROWE,
ALICE CARPENETO, ANGELA
STERGIOPOULOS, ANNE MARIE DORF,
BARRY RUSSIN, BENEFIT OF DEVON
MARIE RODAK, BENEFIT OF MARANDA
C. RATCHFORD, BRENDA SORENSON,
BRIAN COLLMAN, CATHERINE
DEBLIECK, CHARLES COLLMAN,
CHELSEA NICOLE RODAK, CHRISTINA
BANE-HAYES, CHRISTINE BARTON
(NOW PENCE), CHRISTINE PAPASSO,
CHRISTOPHER CAPRONI, CLARA
CHIRCHIRILLO, CORAZON
FERNANDEZ, DANIEL D. COFFEY, M.D.,
DIANE ROMERO, DOLORES CAPRONI,
DONALD BANE, DONALD HAVLISH, SR.,
DOYLE RAYMOND WARD, DWAYNE W.
COLLMAN, ED RUSSIN, ELLEN
SARACINI, ESTATE OF ANDREW
STERGIOPOULOS, ESTATE OF BRIAN
NUNEZ, ESTATE OF DANIEL M.
COFFEY, ESTATE OF DENIS LAVELLE,
ESTATE OF DORTHY MAURO, ESTATE
OF EDWARD W. STRAUB, ESTATE OF
ELVIN ROMERO, ESTATE OF GEORGE
ERIC SMITH, ESTATE OF JAMES D.
HALVORSON, ESTATE OF JASON
COFFEY, ESTATE OF JEANMARIE
WALLENDORF, ESTATE OF JEFFREY
COALE, ESTATE OF JEFFREYCOLLMAN,
ESTATE OF JENNIFER TINO, ESTATE OF
JOHN GRAZIOSO, ESTATE OF JOHN M.
RODAK, ESTATE OF JOHN WILLIAM
PERRY, ESTATE OF JOSEPH
LOSTRANGIO, ESTATE OF JOSHUA
SCOTT REISS, ESTATE OF JUDY
FERNANDEZ, ESTATE OF LIMING GU,
ESTATE OF LINDA ELLEN PANIK,
ESTATE OF MARIA THERESA
SANTILLIAN, ESTATE OF MARSHA
DIANAH RATCHFORD, ESTATE OF
MARTIN BORYCZEWSKI, ESTATE OF
MARY MELENDEZ, ESTATE OF META
WALLER, ESTATE OF MICHAEL A.
BANE, ESTATE OF MICHAEL
BORYCZEWSKI, ESTATE OF MICHAEL
  Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 5 of 26



DIEHL, ESTATE OF PAUL K. SLOAN,
ESTATE OF PETER CHIRCHIRILLO,
ESTATE OF PETER T. MILANO, ESTATE
OF PHILIP PAUL OGNIBENE, ESTATE OF
RICHARD M. CAPRONI, ESTATE OF
RICHARD ROSENTHAL, ESTATE OF
ROBERT LEVINE, ESTATE OF RONALD
GAMBOA, ESTATE OF SALVATORE T.
PAPASSO, ESTATE OF SCOTT
SCHERTZER, ESTATE OF STEPHEN
DORF, ESTATE OF STEVEN CAFIERO,
ESTATE OF TIMOTHY P. SOULAS,
ESTATE OF TIMOTHY RAYMOND
WARD, ESTATE OF VICTOR SARACINI,
ESTATE OF VINCENT A. OGNIBENE,
ESTATE OF WILLIAM R. GODSHALK,
ESTATE OF WILLIAM R. STEINER,
ESTATE OF YVETTE NICHOLE
MORENO, ESTER SANTILLIAN,
EXPEDITO SANTILLIAN, FIONA
HAVLISH, FRANCES M. COFFEY, FUMEI
CHIEN, GEORGE STERGIOPOULOS,
M.D., GERALD BINGHAM, GLORIA
RUSSIN, GRACE KNESKI, GRACE M.
PARKINSON-GODSHALK, GUARDIAN
OF ANNE C. SARACINI, HAOMIN JIAN,
HELEN ROSENTHAL, HUI-CHIEN CHEN,
HUI-CHUAN JIAN, HUI-ZON JIAN,
HUICHUN JIAN, IVY MORENO, JIN LIU,
JOAN E. TINO, JOANNE GORI, JOANNE
LOVETT, JOANNE RENZI, JOHN RODAK,
JOSEPH DORF, JOSLIN ZEPLIN, JOYCE
ANN RODAK, JUDITH REISS, JULIA
BORYCZEWSKI, KATHERINE SOULAS,
KEVIN M. COFFEY, KRYSTYNA
BORYCZEWSKI, LEONA ZEPLIN,
LEONARD ZEPLIN, LINDA SAMMUT,
LISA CAPRONI-BROWN, LIVIA
CHIRCHIRILLO, LOISANNE DIEHL,
LOREN ROSENTHAL, MARGARET
MAURO, MARIE ANN PAPROCKI,
MARSHEE R. RATCHFORD, MARTIN
PANIK, MARY LYNN-ANNA PANIK
STANLEY, MAUREEN HALVORSON,
MAUREEN R. HALVORSON, MICHAEL
CAPRONI, MICHAEL LOGUIDICE,
  Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 6 of 26



MICHELE BORYCZEWSKI, MICHELLE
WRIGHT, MORRIS DORF, PAMELA
SCHIELE, PATRICIA J. PERRY, PATRICIA
MILANO, PAUL SCHERTZER, RALPH S.
MAERZ, RAMON MELENDEZ,
RAYMOND DOYLE SMITH, REGINA
MARIA MERWIN, REGINA RODAK,
RICHARD A. CAPRONI, ROBERT DORF,
RODNEY M. RATCHFORD, RODNEY
RATCHFORD, RONALD S. SLOAN, RONI
LEVINE, RUSSA STEINER, SANDRA
STRAUB, STEPHEN L. CARTLEDGE,
SUSAN CONKLIN, TARA BANE,
TERESANNE LOSTRANGIO, TINA
GRAZIOSO, WILLIAM COALE, WILLIAM
HAVLISH, ESTATE OF SIAVASH
BAYANI, FATEMEH BAYANI,
BANAFSHEH BAYANI, BABAK BAYANI,
SHERYL WULTZ, YEKUTIEL “TULY”
WULTZ, AMANDA WULTZ, ESTATE OF
DANIEL WULTZ, MATI GILL, ESTATE OF
MICHAEL HEISERI FRAN HEISER
(INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
MICHAEL HEISER), GARY HEISER
(INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
MICHAEL HEISER), ESTATE OF BRENT
MARTHALER, KATIE LEE MARTHALER
(INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
BRENT MARTHALER), HERMAN
MARTHALER, SHARON MARTHALER,
MATTHEW MARTHALER, KIRK
MARTHALER, RICHARD WOOD,
KATHLEEN WOOD, SHAWN WOOD,
DENISE EICHSTAEDT, ANTHONY
CARTRETTE, LEWIS CARTRETTE,
ESTATE OF PATRICK FENNIG,
THADDEUS C. FENNIG (INDIVIDUALLY
AND AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF PATRICK FENNIG),
CATHERINE FENNIG (INDIVIDUALLY
AND AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF PATRICK FENNIG),
PAUL FENNIG, MARK FENNIG, ESTATE
  Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 7 of 26



OF CHRISTOPHER ADAMS, CATHERINE
ADAMS (INDIVIDUALLY AND AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF CHRISTOPHER ADAMS),
MARY YOUNG, DANIEL ADAMS,
ELIZABETH WOLF, PATRICK ADAMS,
JOHN ADAMS, WILLIAM ADAMS,
MICHAEL ADAMS, ESTATE OF THANH
“GUS” NGUYEN, CHRISTOPHER
NGUYEN (INDIVIDUALLY AND AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF THANH “GUS” NGUYEN),
SANDRA M. WETMORE, BRIDGET
BROOKS, JAMES RIMKUS, ANNE
RIMKUS, ESTATE OF KENDALL KITSON,
JR., KENDALL KITSON, SR.
(INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
KENDALL KITSON, JR.), NANCY R.
KITSON (INDIVIDUALLY AND AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OFKENDALL KITSON, JR.),
STEVE K. KITSON, NANCY A. KITSON,
LAWRENCE TAYLOR, VICKIE TAYLOR,
STARLINA TAYLOR, ESTATE OF
JOSHUA WOODY, DAWN WOODY
(INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOSHUA WOODY), BERNADINE
BEEKMAN, TRACY SMITH, JONICA
WOODY, TIMOTHY WOODY, ESTATE OF
LELAND “TIM” HAUN, IBIS “JENNY”
HAUN (INDIVIDUALLY AND AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF LELAND “TIM” HAUN),
SENATOR HAUN, MILLY PEREZ-
DALLIS, ESTATE OF CHRISTOPHER
LESTER, CECIL LESTER, SR.
(INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
CHRISTOPHER LESTER), JUDY LESTER
(INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
CHRISTOPHER LESTER), CECIL LESTER,
JR., JESSICA LESTER, ESTATE OF KEVIN
JOHNSON, SR., SHYRL JOHNSON
  Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 8 of 26



(INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
KEVIN JOHNSON, SR.), KEVIN
JOHNSON, JR., NICHOLAS JOHNSON,
ESTATE OF PETER MORGERA,
MICHAEL MORGERA (INDIVIDUALLY
AND AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF PETER MORGERA),
THOMAS MORGERA, ESTATE OF
MILLARD “DEE” CAMPBELL, MARIE
CAMPBELL (INDIVIDUALLY AND AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF MILLARD “DEE”
CAMPBELL), BESSIE CAMPBELL,
ESTATE OF JUSTIN WOOD, ESTATE OF
EARL CARTRETTE, JR., ESTATE OF
BRIAN MCVEIGH, ESTATE OF JOSEPH E.
RIMKUS, ESTATE OF JEREMY TAYLOR,
JAMES WETMORE, GEORGE BEEKMAN,
CHE COLSON, LAURA JOHNSON,
BRUCE JOHNSON, STEVEN M.
GREENBAUM, STEVEN M. GREENBAUM
(AS ADMINISTRATOR OF THE ESTATE
OF JUDITH GREENBAUM), ALAN D.
HAYMAN, SHIRLEE HAYMAN, CARLOS
ACOSTA, MARIA ACOSTA, TOVA
ETTINGER, IRVING FRANKLIN (ON HIS
OWN BEHALF AND AS
ADMINISTRATOR OF THE ESTATE OF
THE LATE IRMA FRANKLIN), BARUCH
KAHANE, LIBBY KAHANE (ON HER
OWN BEHALF AND AS
ADMINISTRATRIX OF THE ESTATE OF
THE LATE MEIR KAHANE), ETHEL J.
GRIFFIN (AS ADMINISTRATRIX OF THE
ESTATE OF THE LATE BINYAMIN
KAHANE), NORMAN KAHANE (ON HIS
OWN BEHALF AND AS EXECUTOR OF
THE ESTATE OF THE LATE SONIA
KAHANE) and CIPORAH KAPLAN,

          Third-Party Defendants.
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 9 of 26



       I, Suzelle M. Smith, declare as follows:

       1.      I am a partner with the law firm of Howarth & Smith, and I am counsel for

Plaintiffs Mr. Jeremy Levin and Dr. Lucille Levin (“Plaintiffs” or “the Levins”). I am counsel of

record for the Plaintiffs in the matter of Levin v. The Bank of New York Mellon, et al, Case No.

09 Civ. 5900 (JPO).

       2.      I was admitted to the New York bar on July 13, 2016 and I am a member in good

standing of the New York bar. I was admitted to practice in the United States District Court,

Southern District of New York on March 21, 2017, and I am a member in good standing. I was

admitted to the State of California bar in 1984, and I am a member in good standing of the State

of California bar. I am an elected Fellow and Board member of the International Academy of

Trial Lawyers, an elected Fellow of the International Society of Barristers, the American Bar

Foundation, and of the American Board of Trial Advocates. I am a member of the Board of

Trustees of the University of Virginia Law School. I am also a Lecturer in Law and a Visiting

Fellow of Lady Margaret Hall, Oxford University.

       3.      I make this declaration in support of Plaintiffs’ Motion for Summary Judgment

with respect to the Tajideen Blocked Asset. The facts stated below are based on my personal

knowledge or my review of and/or familiarity with prior filings and proceedings in this action.

       4.      The Levins hold money judgments in the total amount of $28,807,719 entered

against the Islamic Republic of Iran, the Iranian Ministry of Information and Security, and the

Iranian Islamic Revolutionary Guard Corp (collectively “Iran”).

       5.      The Levins’ judgment was entered by the U.S. District Court for the District of

Columbia on February 6, 2008, and thereafter registered in this Court pursuant to 28 U.S.C. §

1963 (2009) as Docket Number M18-302.




                                                  1
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 10 of 26



       6.      The Levins have collected on a number of Iranian Blocked Assets, however the

Levins’ Judgment against Iran is not fully satisfied. The remaining uncollected amount of the

Levins’ judgment is well in excess of the amount of the Tajideen Blocked Asset.

       7.      The Levin Judgment Creditors initiated this action by filing a Complaint in this

Court on June 26, 2009, against Citibank, The Bank of New York Mellon, Société Générale, and

JPMorgan Chase Bank, N.A. (collectively, the “NY Banks”). See Dkt. 1099 at 2; Dkt. 70.

       8.      The Levins, the Heiser Judgment Creditors, the Greenbaum Judgment Creditors,

and the Acosta Judgment Creditors (“Levin Sharing Group”) entered into an agreement to share

recoveries on particular blocked assets (“Phase One Assets”) rather than contest priority.

Pursuant to this agreement, on June 30, 2011, the Levins dismissed their appeal of this Court’s

order regarding priority to the Second Circuit. See Dkts. 342, 415.

       9.      The agreement among the Levin Sharing Group has terminated now that the

specific assets decribed therein have been recovered or abandoned.

       10.     On November 29, 2016, the Levins served Interrogatories on JPMorgan Chase

Bank, N.A. (“JPMorgan”).

       11.     JPMorgan served responses to the Levins’ Interrogatories on January 12, 2017.

See Dkt. 1136 at 9, 12.

       12.     JPMorgan’s responses to the Levins’ Interrogatories served on January 12, 2017

disclosed the existence of additional Iranian Blocked Assets which had not been previously

disclosed to the Levins, including the single asset at issue the “Tajideen Blocked Asset.” See

Dkt. 1099-1 at 36.

       13.     The Levins obtained a Court-Ordered Writ of Execution as to the Tajideen

Blocked Asset on June 12, 2017.




                                                2
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 11 of 26



       14.     On June 13, 2017, the Levins delivered the Writs of Execution to the United

States Marshal for Service on Southern District of New York for service and levy upon

JPMorgan.

       15.     On or about June 19, 2017, the U.S. Marshal served JPMorgan with this Court-

Ordered Writ of Execution. See Dkt. 1136 at 12.

       16.     The Levins have also served additional Court-ordered Writs of Execution as to

other specific assets on the New York banks in this action, including JPMorgan, over the years.

On or about June 19, 2009, the Levins served a Writ of Execution issued by the clerk of this

Court on the U.S. Marshal for the Southern District of New York for service on JPMorgan. See

Dkt. 70 at ¶ 28.

       17.     Of all the third-party Judgment Creditors who were served with the interpleader

complaint, only the Gill and the Greenbaum and Acosta Judgment Creditors have filed an answer

to the Third-Party Complaint in Interpleader claiming an interest in the Tajideen Blocked Asset

and not filed a stipulation disclaiming any interest in the Tajideen Blocked Asset. See Dkts.

1167, 1162.

       18.     Having checked the public filings, it appears that the Levins are the only

judgment holders to have begun an action on the Tajideen Blocked Asset within 90 days of the

service of the writs on the U.S. Marshal as required.

       19.     Exhibit 1, attached hereto, lists the third-parties served by JPMorgan with the

Third-Party Interpleader Complaint, the date of service, which of those third-parties have

disclaimed interest in the Tajideen Blocked Asset, and which those third-parties have filed

Answers claiming an interest in the Tajideen Blocked Asset.

       20.     Attached hereto as Exhibit 2 is a true and correct copy of the Levins’ Judgment




                                                3
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 12 of 26



against Iran entered by the U.S. District Court for the District of Columbia on February 6, 2008.

        21.     Attached hereto as Exhibit 3 is a true and correct copy of the Certification of

Judgment for Registration in Another District showing registration in this Court on April 20,

2009 purusant to 28 U.S.C. § 1963 (2009) as Docket Number M18-302.

        22.     Attached hereto as Exhibit 4 is a true and correct copy of the Levins’ Court-

Ordered Writ of Execution as to the Tajideen Blocked Asset issued on June 12, 2017.

        23.     Attached hereto as Exhibit 5 is a true and correct copy of a letter sent by U.S.

Marshal for the Southern District of New York to JPMorgan on June 15, 2017 enclosing a copy

of the Levins’ Writ of Execution as to the Tajideen Blocked Asset.

        24.     Attached hereto as Exhibit 6 is a true and correct copy of the process receipt and

return completed by the U.S. Marshal for the Southern District of New York, showing service of

the Levins’ Writ of Execution as to the Tajideen Blocked Asset on JPMorgan on June 19, 2017.

        25.     Attached hereto as Exhibit 7 is a true and correct copy of the Levins’ Writ of

Execution issued on May 26, 2009.

        26.     Attached hereto as Exhibit 8 is a true and correct copy of the Levins’ Court-

Ordered Writ of Execution issued on August 23, 2011.

        27.     Attached hereto as Exhibit 9 is a true and correct copy of the Levins’ Court-

Ordered Writ of Execution issued on March 13, 2014. The included account information, which

is not relevant to this motion, is reacted.

        28.     Attached hereto as Exhibit 10 is a true and correct copy of the Levins’ Court-

Ordered Writ of Execution issued on June 18, 2014. The included account information, which is

not relevant to this motion, is reacted.

        29.     Attached hereto as Exhibit 11 is a true and correct copy of the spreedsheet of




                                                  4
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 13 of 26



blocked accounts received from JPMorgan in response to the Levins’ November 29, 2016

Interrogatories. The account information is partially reacted to exclude the information which is

not relevant to this motion.

       30.     Attached hereto as Exhibit 12 is a true and correct copy of the June 26, 2009

Complaint filed by the Levins in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 70.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       31.     Attached hereto as Exhibit 13 is a true and correct copy of the December 31, 2009

Third-Party Complaint filed by the NY Banks in Levin v. Bank of New York, et al. (Case No.

1:09-cv-05900) before the United States District Court for the Southern District of New York,

which was filed publicly on February 1, 2010. [Dkt. No. 60.] This document was obtained as it

is kept and maintained in the ordinary course of business by the Federal Judiciary, and is made

available to the public online from the Public Access to Court Electronic Records (“PACER”)

system located at https://www.pacer.gov/.

       32.     Attached hereto as Exhibit 14 is a true and correct copy of the partially redacted

December 31, 2009 Third-Party Complaint filed by JPMorgan in Levin v. Bank of New York, et

al. (Case No. 1:09-cv-05900) before the United States District Court for the Southern District of

New York, which was filed publicly on February 1, 2010. [Dkt. No. 61.] This document was

obtained as it is kept and maintained in the ordinary course of business by the Federal Judiciary,

and is made available to the public online from the Public Access to Court Electronic Records

(“PACER”) system located at https://www.pacer.gov/.




                                                 5
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 14 of 26



       33.     Attached hereto as Exhibit 15 is a true and correct copy of the partially redacted

December 31, 2009 Third-Party Complaint filed by Bank of New York Mellon in Levin v. Bank

of New York, et al. (Case No. 1:09-cv-05900) before the United States District Court for the

Southern District of New York, which was filed publicly on February 1, 2010. [Dkt. No. 62.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       34.     Attached hereto as Exhibit 16 is a true and correct copy of the filed publicly on

February 1, 2010, in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the

United States District Court for the Southern District of New York. [Dkt. No. 332.] This

document was obtained as it is kept and maintained in the ordinary course of business by the

Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       35.     Attached hereto as Exhibit 17 is a true and correct copy of the partially redacted

March 4, 2011 Opinion and Amended Order entered by this Court in Levin v. Bank of New York,

et al. (Case No. 1:09-cv-05900) before the United States District Court for the Southern District

of New York. [Dkt. No. 342.] This document was obtained as it is kept and maintained in the

ordinary course of business by the Federal Judiciary, and is made available to the public online

from the Public Access to Court Electronic Records (“PACER”) system located at

https://www.pacer.gov/.

       36.     Attached hereto as Exhibit 18 is a true and correct copy of the partially redacted

June 7, 2011 Notice of Motion for Summary Judgment on Phase One Assets filed by the Levin

Sharing Group in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the United




                                                6
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 15 of 26



States District Court for the Southern District of New York. [Dkt. No. 380.] This document was

obtained as it is kept and maintained in the ordinary course of business by the Federal Judiciary,

and is made available to the public online from the Public Access to Court Electronic Records

(“PACER”) system located at https://www.pacer.gov/.

       37.     Attached hereto as Exhibit 19 is a true and correct copy of the partially redacted

June 30, 2011 Order from this Court granting the Levin Sharing Group’s motion for partial

summary judgment and turnover of Phase One Assets and directing turnover of funds entered in

Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the United States District

Court for the Southern District of New York. [Dkt. No. 412.] This document was obtained as it

is kept and maintained in the ordinary course of business by the Federal Judiciary, and is made

available to the public online from the Public Access to Court Electronic Records (“PACER”)

system located at https://www.pacer.gov/.

       38.     Attached hereto as Exhibit 20 is a true and correct copy of the August 10, 2011

Mandate of United States Court of Appeals for the Second Circuit granting the Levins’ motion to

withdraw their appeal entered in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York on August 11,

2011. [Dkt. No. 415.] This document was obtained as it is kept and maintained in the ordinary

course of business by the Federal Judiciary, and is made available to the public online from the

Public Access to Court Electronic Records (“PACER”) system located at

https://www.pacer.gov/.

       39.     Attached hereto as Exhibit 21 is a true and correct copy of the August 16, 2011

Order of this Court directing the Clerk of this Court to issue Writs of Execution in satisfaction of

28 U.S.C. § 1610(c) as to the Levins’ judgment against Iran entered in Levin v. Bank of New




                                                 7
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 16 of 26



York, et al. (Case No. 1:09-cv-05900) before the United States District Court for the Southern

District of New York. [Dkt. No. 416.] This document was obtained as it is kept and maintained

in the ordinary course of business by the Federal Judiciary, and is made available to the public

online from the Public Access to Court Electronic Records (“PACER”) system located at

https://www.pacer.gov/.

       40.     Attached hereto as Exhibit 22 is a true and correct copy of the partially redacted

August 29, 2012 notice of motion for partial summary judgment on Phase Two Assets filed by

the Levin Sharing Group in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before

the United States District Court for the Southern District of New York. [Dkt. No. 763.] This

document was obtained as it is kept and maintained in the ordinary course of business by the

Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       41.     Attached hereto as Exhibit 23 is a true and correct copy of the partially redacted

September 12, 2013 notice of motion for partial summary judgment on turnover of blocked

assets filed by the Levin Sharing Group in Levin v. Bank of New York, et al. (Case No. 1:09-cv-

05900) before the United States District Court for the Southern District of New York. [Dkt. No.

917.] This document was obtained as it is kept and maintained in the ordinary course of business

by the Federal Judiciary, and is made available to the public online from the Public Access to

Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       42.     Attached hereto as Exhibit 24 is a true and correct copy of the partially redacted

September 23, 2013 Order of this Court granting turnover of the Phase Two Blocked Assets

entered in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the United States

District Court for the Southern District of New York. [Dkt. No. 925.] This document was




                                                8
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 17 of 26



obtained as it is kept and maintained in the ordinary course of business by the Federal Judiciary,

and is made available to the public online from the Public Access to Court Electronic Records

(“PACER”) system located at https://www.pacer.gov/.

       43.     Attached hereto as Exhibit 25 is a true and correct copy of the partially October

10, 2013 Judgment and Order from this Court directing Turnover of the Phase Two Blocked

Assets entered in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the United

States District Court for the Southern District of New York. [Dkt. No. 936.] This document was

obtained as it is kept and maintained in the ordinary course of business by the Federal Judiciary,

and is made available to the public online from the Public Access to Court Electronic Records

(“PACER”) system located at https://www.pacer.gov/.

       44.     Attached hereto as Exhibit 26 is a true and correct copy of the partially redacted

October 31, 2013 Judgment and Order from this Court directing turnover of blocked assets

entered in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the United States

District Court for the Southern District of New York. [Dkt. No. 944.] This document was

obtained as it is kept and maintained in the ordinary course of business by the Federal Judiciary,

and is made available to the public online from the Public Access to Court Electronic Records

(“PACER”) system located at https://www.pacer.gov/.

       45.     Attached hereto as Exhibit 27 is a true and correct copy of the partially redacted

June 2, 2014 notice of motion for partial summary judgment on [redacted] blocked asset filed by

the Levin Sharing Group in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before

the United States District Court for the Southern District of New York. [Dkt. No. 969.] This

document was obtained as it is kept and maintained in the ordinary course of business by the

Federal Judiciary, and is made available to the public online from the Public Access to Court




                                                 9
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 18 of 26



Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       46.     Attached hereto as Exhibit 28 is a true and correct copy of the partially redacted

November 1, 2016 Judgment and Order from this Court Directing the Turnover of the [redacted]

blocked asset entered in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the

United States District Court for the Southern District of New York. [Dkt. No. 1089.] This

document was obtained as it is kept and maintained in the ordinary course of business by the

Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       47.     Attached hereto as Exhibit 29 is a true and correct copy of the April 18, 2017

Order of this Court directing the Clerk of this Court to issue Writs of Execution in satisfaction of

28 U.S.C. § 1610(c) entered in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1095.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       48.     Attached hereto as Exhibit 30 is a true and correct copy of the June 20, 2017

notice of motion for leave to file supplemental complaint pursuant to F.R.C.P. 15(d) filed by the

Levins in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the United States

District Court for the Southern District of New York. [Dkt. No. 1098.] This document was

obtained as it is kept and maintained in the ordinary course of business by the Federal Judiciary,

and is made available to the public online from the Public Access to Court Electronic Records

(“PACER”) system located at https://www.pacer.gov/.

       49.     Attached hereto as Exhibit 31 is a true and correct copy of the June 20, 2017




                                                10
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 19 of 26



memorandum of points and authorities in support of the Levins’ motion for leave to file

supplemental complaint pursuant to F.R.C.P. 15(d) filed in Levin v. Bank of New York, et al.

(Case No. 1:09-cv-05900) before the United States District Court for the Southern District of

New York. [Dkt. No. 1099.] This document was obtained as it is kept and maintained in the

ordinary course of business by the Federal Judiciary, and is made available to the public online

from the Public Access to Court Electronic Records (“PACER”) system located at

https://www.pacer.gov/.

       50.     Attached hereto as Exhibit 32 is a true and correct copy of Exhibit 1 to the

Levins’ June 20, 2017 motion for leave to file supplemental complaint, the Levins’ proposed

supplemental complaint filed in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1099-

1.] This document was obtained as it is kept and maintained in the ordinary course of business

by the Federal Judiciary, and is made available to the public online from the Public Access to

Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       51.     Attached hereto as Exhibit 33 is a true and correct copy of the July 5, 2017

memorandum of law in response, and in partial opposition, to the Levins’ motion for leave to file

a supplemental complaint filed by JPMorgan in Levin v. Bank of New York, et al. (Case No.

1:09-cv-05900) before the United States District Court for the Southern District of New York.

[Dkt. No. 1101.] This document was obtained as it is kept and maintained in the ordinary course

of business by the Federal Judiciary, and is made available to the public online from the Public

Access to Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       52.     Attached hereto as Exhibit 34 is a true and correct copy of the July 5, 2017

declaration of Steven B. Feigenbaum in response, and in partial opposition, to plaintiffs’ motion




                                                11
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 20 of 26



for leave to file a supplemental complaint filed by JPMorgan in Levin v. Bank of New York, et al.

(Case No. 1:09-cv-05900) before the United States District Court for the Southern District of

New York. [Dkt. No. 1103.] This document was obtained as it is kept and maintained in the

ordinary course of business by the Federal Judiciary, and is made available to the public online

from the Public Access to Court Electronic Records (“PACER”) system located at

https://www.pacer.gov/.

       53.     Attached hereto as Exhibit 35 is a true and correct copy of Exhibit A to the July 5,

2017 declaration of Steven B. Feigenbaum in response, and in partial opposition, to plaintiffs’

motion for leave to file a supplemental complaint, filed by JPMorgan in Levin v. Bank of New

York, et al. (Case No. 1:09-cv-05900) before the United States District Court for the Southern

District of New York. [Dkt. No. 1103-1.] This document was obtained as it is kept and

maintained in the ordinary course of business by the Federal Judiciary, and is made available to

the public online from the Public Access to Court Electronic Records (“PACER”) system located

at https://www.pacer.gov/.

       54.     Attached hereto as Exhibit 36 is a true and correct copy of the October 27, 2017

Opinion and Order from this Court granting in part and denying in part the Levins’ motion for

leave to file a supplemental complaint entered in Levin v. Bank of New York, et al. (Case No.

1:09-cv-05900) before the United States District Court for the Southern District of New York.

[Dkt. No. 1106.] This document was obtained as it is kept and maintained in the ordinary course

of business by the Federal Judiciary, and is made available to the public online from the Public

Access to Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       55.     Attached hereto as Exhibit 37 is a true and correct copy of the November 15, 2017

supplemental complaint pursuant to N.Y. C.L.P.R. § 5225 and Court order dated October 27,




                                                12
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 21 of 26



2017 filed by the Levins in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before

the United States District Court for the Southern District of New York. [Dkt. No. 1110.] This

document was obtained as it is kept and maintained in the ordinary course of business by the

Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       56.     Attached hereto as Exhibit 38 is a true and correct copy of Exhibit D to the

November 15, 2017 supplemental complaint pursuant to N.Y. C.L.P.R. § 5225 and Court order

dated October 27, 2017 filed by the Levins in Levin v. Bank of New York, et al. (Case No. 1:09-

cv-05900) before the United States District Court for the Southern District of New York. [Dkt.

No. 1110-4.] This document was obtained as it is kept and maintained in the ordinary course of

business by the Federal Judiciary, and is made available to the public online from the Public

Access to Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       57.     Attached hereto as Exhibit 39 is a true and correct copy of the Bennett and Khaliq

Parties’ December 19, 2017 Stipulation and Order regarding disclaimer of interest and discharge

as to the Tajideen Blocked Asset filed in Levin v. Bank of New York, et al. (Case No. 1:09-cv-

05900) before the United States District Court for the Southern District of New York. [Dkt. No.

1120.] This document was obtained as it is kept and maintained in the ordinary course of

business by the Federal Judiciary, and is made available to the public online from the Public

Access to Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       58.     Attached hereto as Exhibit 40 is a true and correct copy of the John Doe

December 20, 2017 stipulation and order regarding disclaimer of interest and discharge as to the

Tajideen Blocked Asset filed in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1121.]




                                               13
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 22 of 26



This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       59.     Attached hereto as Exhibit 41 is a true and correct copy of the Wamai and

Amduso Parties’ December 20, 2017 stipulation and order regarding disclaimer of interest and

discharge as to the Tajideen Blocked Asset filed in Levin v. Bank of New York, et al. (Case No.

1:09-cv-05900) before the United States District Court for the Southern District of New York.

[Dkt. No. 1122.] This document was obtained as it is kept and maintained in the ordinary course

of business by the Federal Judiciary, and is made available to the public online from the Public

Access to Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       60.     Attached hereto as Exhibit 42 is a true and correct copy of the Petersons’

December 20, 2017 stipulation and order regarding disclaimer of interest and discharge as to the

Tajideen Blocked Asset filed in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1123.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       61.     Attached hereto as Exhibit 43 is a true and correct copy of the Brown and Bland

Parties’ December 21, 2017 stipulation and order regarding disclaimer of interest and discharge

as to the Tajideen Blocked Asset filed in Levin v. Bank of New York, et al. (Case No. 1:09-cv-

05900) before the United States District Court for the Southern District of New York. [Dkt. No.

1125.] This document was obtained as it is kept and maintained in the ordinary course of

business by the Federal Judiciary, and is made available to the public online from the Public




                                               14
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 23 of 26



Access to Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       62.     Attached hereto as Exhibit 44 is a true and correct copy of the Murphys’

December 21, 2017 stipulation and order regarding disclaimer of interest and discharge as to the

Tajideen Blocked Asset filed in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1127.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       63.     Attached hereto as Exhibit 45 is a true and correct copy of the Caballero

December 22, 2017 stipulation and order regarding disclaimer of interest and discharge as to the

Tajideen Blocked Asset filed in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1129.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       64.     Attached hereto as Exhibit 46 is a true and correct copy of the Owens and Mwila

Parties’ December 22, 2017 stipulation and order regarding disclaimer of interest and discharge

as to the Tajideen Blocked Asset filed in Levin v. Bank of New York, et al. (Case No. 1:09-cv-

05900) before the United States District Court for the Southern District of New York. [Dkt. No.

1130.] This document was obtained as it is kept and maintained in the ordinary course of

business by the Federal Judiciary, and is made available to the public online from the Public

Access to Court Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       65.     Attached hereto as Exhibit 47 is a true and correct copy of the January 12, 2018




                                               15
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 24 of 26



Answer to the Levins’ supplemental complaint, counterclaim and third-party complaint in

interpleader filed by JPMorgan in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1136.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       66.     Attached hereto as Exhibit 48 is a true and correct copy of the January 31, 2018

declaration of Steven B. Feigenbaum of service on all Third-Party Defendants other than Kassim

Tajideen filed by JPMorgan in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1144.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       67.     Attached hereto as Exhibit 49 is a true and correct copy of the February 2, 2018

declaration of Steven B. Feigenbaum of service on Third-Party Defendant Kassim Tajideen filed

by JPMorgan in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the United

States District Court for the Southern District of New York. [Dkt. No. 1146.] This document

was obtained as it is kept and maintained in the ordinary course of business by the Federal

Judiciary, and is made available to the public online from the Public Access to Court Electronic

Records (“PACER”) system located at https://www.pacer.gov/.

       68.     Attached hereto as Exhibit 50 is a true and correct copy of the February 9, 2018

joint Answer to JPMorgan’s third-party complaint in interpleader and counterclaim filed by the

Greenbaum and Acosta Parties in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)




                                               16
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 25 of 26



before the United States District Court for the Southern District of New York. [Dkt. No. 1162.]

This document was obtained as it is kept and maintained in the ordinary course of business by

the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       69.     Attached hereto as Exhibit 51 is a true and correct copy of the February 23, 2018

Answer to JPMorgan’s third-party complaint in interpleader filed by Mati Gill in Levin v. Bank

of New York, et al. (Case No. 1:09-cv-05900) before the United States District Court for the

Southern District of New York. [Dkt. No. 1167.] This document was obtained as it is kept and

maintained in the ordinary course of business by the Federal Judiciary, and is made available to

the public online from the Public Access to Court Electronic Records (“PACER”) system located

at https://www.pacer.gov/.

       70.     Attached hereto as Exhibit 52 is a true and correct copy of the March 2, 2018

Answer and Affirmative Defenses to JPMorgan’s Third-Party Complaint in interpleader filed by

Alico Lebanon in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900) before the United

States District Court for the Southern District of New York. [Dkt. No. 1172.] This document

was obtained as it is kept and maintained in the ordinary course of business by the Federal

Judiciary, and is made available to the public online from the Public Access to Court Electronic

Records (“PACER”) system located at https://www.pacer.gov/.

       71.     Attached hereto as Exhibit 53 is a true and correct copy of Kassim Tajideen’s

March 14, 2018 stipulation and order regarding disclaimer of interest and discharge as to the

Tajideen Blocked Asset entered in Levin v. Bank of New York, et al. (Case No. 1:09-cv-05900)

before the United States District Court for the Southern District of New York. [Dkt. No. 1174.]

This document was obtained as it is kept and maintained in the ordinary course of business by




                                               17
    Case 1:09-cv-05900-JPO-RLE Document 1183 Filed 06/13/18 Page 26 of 26



the Federal Judiciary, and is made available to the public online from the Public Access to Court

Electronic Records (“PACER”) system located at https://www.pacer.gov/.

       72.     Attached hereto as Exhibit 54 is a true and correct copy of the Goldberg-Botvin

and Botvin Estate Parties’ December 21, 2017 stipulation and order regarding disclaimer of

interest and discharge as to the Tajideen Blocked Asset filed in Levin v. Bank of New York, et al.

(Case No. 1:09-cv-05900) before the United States District Court for the Southern District of

New York. [Dkt. No. 1126.] This document was obtained as it is kept and maintained in the

ordinary course of business by the Federal Judiciary, and is made available to the public online

from the Public Access to Court Electronic Records (“PACER”) system located at

https://www.pacer.gov/.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 13th day of June 2018, in Los Angeles, California.



                                                      /s/ Suzelle M. Smith
                                                        Suzelle M. Smith




                                                18
